        Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 1 of 12



  Docket NO: FBT-CV-1 7-5034414_S
                                                                     SUPERIOR COURT
  Lucia   Cinotti                                                           ._ : -
                                                                 :J D. oF FAtRFtELp Lt
           v.                                                    :
                                                                                  #i,,h G "..'
                                                                     AT BRIDGEPOR!.,:l
  sHRED rr u.s.A. LLc, Et    Ar                                         h -,;i;i  (:,.     -   .rr*   r-   , /.   f   :

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                                   @E
                                   MOTtoN To TRANSFER
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                                                                       f *rn
                                                                          *p
                                                                                    -\i*
  The Plaintiff, respectfully moves the court for re-argument
                                                                 of her motion to transfer the
 above case to regular docket- The record reflects
                                                       that plaintiff filed Motion to Transfer
 (entry #120), and (entry# 122)- Plaintiff- pro
                                                se asserted been financially aggrieved.
       On January 18, 2019, order (entry #124), is not
                                                       Consistent to the doctrine of

 Res   judicata. In the present case, Res judicata         is barred, that   the existing
judgment was obtained by fraud and
                                   collusion.

    At the outset of this case'   the records reflected by multiple eyewitnesses,
                                                                                  and
affidavits produced, addition to the Plaintiff
                                                      ,   there was collusion and fraud

rn court.

The doctrine   of   Res judicata is barred, when the judgm ent rendered
                                                                        was procured not
based on the merits of the case, but procured by fraud and
                                                           coilusion, ... ....as new
litigation will not be barred if the former judgment was procured
                                                                  through such means.
see weiss v- weiss ,, 2gr conn.446, 470, ggg A.2d 766 (2010). (Res judicata
                                                                             does not
apply to judgments obtained through fraud or collusion
                                                       [when the] facts and events
themselves arose by the dishonest misconduct       of Magistrate       Joseph patchen,
presidingoverthisPlaintiffcaseCV-17-5o34441-S,

March 2, 2018. This allegation in court was eyewitnessei,
                                                          at the outset. The records




                                                                                                                          t1q
      Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 2 of 12




reflects that, thereafter, Plaintiff detailed affidavit was fonrvarded to Chief Clerk.

    On July     17   ,2018, Plaintiff contacted Attorney Robert Wilock, Chief Clerk of the

Bridgeport Superior Court, in a written affidavit and detailed the collusion and fraud

upon this Plaintiff, No action,      or   reply by the Chief Clerk,   the matter remained
unresolved. Thereafter, the records reflects....Plaintiff Eyewitness Affidavits.

    On October 26,2018, Plaintiff, contacted the Chief Clerk Wilock, and again this

Plaintiff was   ignored. EX       H/   fr i   f- t
The records reflects, the same order of dishonest conduct, was with Magistrate

Baffman, in the absence of facts, or existence of testimony, relevant evidence...

Preclusion of the court denial of the Plaintiff- Pro se eyewitness prevented to tesify a

determination of the issues, facts, therefore the judgment rendered was not valid, and,

therefore cannot sustain the integrity of the judicial final judgment.

     Records reflects, Magistrate Patchen recusal            of   himself from this Plaintiff

 litigant, case, records reflected to his own disgraceful action of misconduct of

collusion and fraud with defendants, "Hartford lnsurance" and records reflected by

other eyewitness, in addition to the Plaintiff..

Res judicata applies, if the judgment rendered was on the merits of the case, not on

fraud and collusion, as the instanf case.

      Plaintiff- Pro se, asserts, that Res judicata does not apply to judgment obtained

by the Defendant's       "Ihe Hartford lnsurance" was a direct fraud and collusion, with the
Magistrate Patchen, and to huge financial detriment susfarned by this Plaintiff, and

to unjust enrichment to the defendants " Hartford lnsurance" .... The doctrine of

Res judicata holds that an existing judgment rendered on fraud and collusion is barred
          Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 3 of 12




by the Res judicata.

 Plaintiff pro se, allegation on unreasonable detay by the court, has caused undue

Additional financial hardship, where both liabilities and damages are now

Exceeded the $ 5000. ln demand exclusive of interest and costs, but less than

$15,000.00. Greaterthan the jurisdiction of the Small Claim Court, case pending since

May 31 ,2017,


Therefore;

      The Plaintiff hereby, respectfully request to transfer the above referenced matter

to the Regular Docket, Plaintiff wish to defend, preserve and safeguard her legal

rights.




                                                                  Respectfully submitted


                                                    BY
                                                            Lucia Cinotti-Plaintiff pro se
                                                     P.O. Box 2223, Shelton CT 06484.
     Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 4 of 12



                                      CERTIFICATION

THIS IS TO CERTIFY THAT A COPY OF THE ABOVE MOTION WAS MAILED TO THE COUNSEL AND PARTIES
    oF RECORDS oN     Januaryq 2U9.
                              t/

DEFENDANT'S

Sherd   It   U.S.A. LLC

Attorney: Morrison Mahoney LLP
One Constitutional Plaza. lOthftr
Hartford CT 06103


L:ahiri Dilip Kumar

Attorney: Morrison Mahoney LLP
One Constitutional Plaza,lOrh flr
Hartford CT 06103




                                                                   \-_-
                                                        BY
                                                             Lucia Cinotti, Plaintiff -Pro se
                                                         P.O. Box 2223 Shelton CT 06484
                       Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 5 of 12

                                                                                                                                       EY   n6ir 4

                           )tily 17,2.QI8
                            Ri: Docket No: CV-17 5034441-5
                           Stnall Claims Tort-Motor Vehicle

                           On March 2,2OL8, Magistrate Joseph j. Patchen, and Attorney Kaelah M. Smith, discussed among
                           themselves, how much settlement to offer this Plaintiff. This agreernent was reached outside the
                           presence of this plaintifl and without reviewing Plaintiff evidence.


                           On May 14,2018, Attorney Kaelah M, Smith, admitted, acknowledge, and confirmed in writing, that
                           shehadreachedanaBreementwithMagistrate Patchen,outsidethepresence,or anyknowledgeor
                           afforded         to the   Plaintiff.

                            On March 2,2018, Magisttate Patchen ORDER. "Plaintiff ot the stort of the hearing mode
                           inoppropriate stotement to the court ond chollenged the Court's Ability to understand this case when
                           he Court attempt to exploin issues at Couft Procedure",

                           Magistrate Patchen , offered no explanation why he recused himself? ls highly conffadictory, because
                           he had the authority to hear the case or dismiss the case.

                           Magistrate Patchen comrnent, about this Plaintiff are utterly false statement being posted on your
                           Judicial Website on your Judicial website are utterly false, and highly defamatory, and harmful to
                           the Plaintiff case, and Plaintiff reputation,

                           Magistrate Patchen by his own dishonest misconduct, and unlawful action exceeded his authority,
                           leod to his own recusel, ..,,.,. and knowingly violated Plointiffs rights, ctfRcE into a settlement, even
                           before Plointiff hod the opportunity to present her evidence to the court.
                           This plointiff was deprived "Due Process of the lqw in o monner consistent with depravation oF RIGHTS
                           UIIDER THE COLOR OF LAW'Exhibit-2


                            Rule 2,7 ("A Judge sholl not moke ony publlc stdtement that might reasonably ex expected to affect
                           the outcome or to impair the fairness of a motter pending or impending in any court or moke any
                           stotement posted on judlcldlwebsite that has substantiolly interfered ond harmful the case or
                           reputotion of o falr heoring"
                           Plointiff wos hormed, when the next Magistrote Broffmon On April 27, 2078, looked ot the Judicial
                           website Maglstrote Potchen notes posted as true facts ond giftg3"..t*yi9-W.l"ng';1g-Ggf{lhe_Plgtnijt{
                           estimates/her evidence, Magistrote Braffman. Order "    "After o lengthy and difficult tridl"... -..
                           Highly inappropriate for a court order.

                           Noteworthy; onA4/27lI8, Plaintiffs asserts that the hearing lasted {22 mlnutes and 36 seconds)
                           ...         Facts... Magistrate 8raffman, issued her   order   With -o*Ut.lqyi*e..tv.in&"lllsiffj{f   gvi   .*To date,

                        On April 30, 2018, Plaintiff filed a Motion to reopen the case
                        These unlawful actions and defamatory statements have impaired the fairness of my pending case in
                        court, has already substantially interfered with a fair hearing and input an additional financial strain
                        on this Plaintiff. I have requested this utterly false comments posted on online, on your Judiciol
                        Website to be removed immedidtely, are untrue, is biasing, and impair the fairness to my pending
                        case, biasing future Magistrates to my pending my case.                                         -/                              r7-.l.*'
                                                                                                                                                              tL)
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  [,1fu.',,            u1t]              / l7- t.(''
                Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 6 of 12


< 33 Results for wilock

Wlock Small Claims Maglstrate
From: previews <finehomesl0Of@aol.com>
   To: finehomes100f <finehomesloof@aol.com>
 Date: Tue, Oct9,2018 12:01        pm

     t   0s18_001.pdf(75 KB)




--Original Message-
Fmm: previews <finehomesl oof@aol.com>
To: robert.wilock <robert.wilock@ud.ct. gov>
Sent Wed, Jul 25, 2018 11A7 am
Subject: Small Claims Magistrate

Dear Atlomey Wloek

Subject: Attached affidavit dated July 17, 201 8. Docket No. CV t7-175034441S

I was advised to formally notily your office of   my swom affidavit of ongoing issues wilh Small Claims Magistrate
My affidavit strates my request. Thank you


Sincerely,

Lucia Cinotti
    Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 7 of 12


                                                                                                      Exhibit-,.

                             3b3\F/v,
Docket NO:      fer-cV-t Zhs4tS                                     ; SUPERIOR COURT

Lucia Cinotii                                                       :J   D. OF FAIRFIELD

           V.                                                       :   AT BRIDGEPORT.
SHRED IT U.S.A. LLC, EtAI
                                                                    October 26,2018



                                            AFFIDAVIT

       l, Heather Lindsay being duly sworn, depose and say:

e    That I am over the age of 18 years and believe in the obligation of     bath
                                                                         .an

     That I am familiarwith thefacts     of this case

c     That I was the eyewitness in court at the Small Claim Room- C of the above action, and I
     oyewitness that Magistrate Braffman never allowed the Plaintiff- Pro se litigant Lucia Ginotti
     to speak or present evidence in court. Only addressed to the opposing qttorney throughout
     the said hearing Apri|27,2018.

o    I am familiar because the order posted by Magistrate Braffman on the judicialwebsite
     stated "After lengthy and difficutt trial" the so called 'trial" Iengthy was less than 22
     minutes, ancj the plaintiffs. was not bllowed to introduce her evidence or eyewitness.

o    Magistrate Braffman, noteworthy, Braffman never looked the Plaintiffls appraisals on
     damages or the police record. I find appalled of her choice of word, in her court order,
     posted on the judicial website dated April 27 , 2018, and the state.ment on the Order is
     False" the Plaintiff never was allowed to present her evidence

o    On September 26, 2018. The.casewas continued by the magistrate.

     I was appalled to read Magistrate       Braffman Order 04127118, " defendant's'offerof
     payment is   faif   "signed by Magistrate Braffman does not.reflect or represent the facts
     lwitnessed in court.

G    On October 26,2018,1 was in Court Small Claim Room C as eyewitness, to this matter and
     again, this Plaintiff, was not allovired to speak or present her evidence, and her case .
     The Magistrate only addressed the opposing counselfrorn the insurance company.


"    To my knowledge, on the Judicial Website that this case is pending since May 31,2017         ,

       That its 'a disgraceful for a small claim case,, and despite a Motion for Default was
       entered against the defendant's on January 19, 2018-

     The defendant's never filed an answer in this case.

lwas eyewitnessrn court. Totake notes, tnotiied the Plaintiff be deprived her due process
 Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 8 of 12




"No person shall be denied equal protection of ihe law, nor be subject to segregation or
discrimination....". Title 42 u.s.c. S 1983 civilAction for Depravation of Rights

Access to Justice"   whom   Ms. Krista Hess, Director, Court Operations claims she advocate
and   promoting 'Access to Justice" remains quite contradictory to me in terms of my
experience within the court "v'lanton, "neglectful" or "Malicious" ongoing conduct-as an
employee of the State of .Connecticut, are deliberately, "ongoing" actions   to   deprived Pro se
litigants "equal access to the court"




                                                                 ther
               Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 9 of 12 Page 1 of                                      1




                                                       JDNO NOTICE

 FBT-CV-I7-5034441-S CINOTTI, LUCIA v. SHRED lT U.S.A. LLc Et Al

 Notice lssued . 01123t2019


 Court Address:
CLERK, SUPERIOR COURT
JUDICIAL DISTRICT OF FAIRFIELD
1061 MAIN STREET
BRIDGEPORT, CT 06604

 Notice Gontent:
 Notice lssued : 01 12312019
 Docket Number: FBT-CV-1 7-5034441 -S
 Case Caption: CINOTTI, LUCIA v. SHRED lT U.S.A. LLC Et Al
 Notice Sequence #: I

       JDNO NOTICE

 The Plaintiff is barred from transferring this adjudged matter to the Superior Court. The legal doctrine of Res Judicata
 applies.


 {MONKS, SCM}




http://civilinquiryjud.ct.gov/CaseDetailAtrotices/ViewJDNO.aspx?PSID:43666&eNID:46...                                 21512019
              Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 10 of 12 Page 1 of I



                                                       JDNO NOTICE

 FBT-GV-I7-5034441-S CINOTTI, LUCIA v. SHRED lT U.S.A. LLC EtAl

 Notice lssued . 01 12312019

 Gourt Address:
 CLERK, SUPERIOR COURT
 JUDICIAL DISTRICT OF FAIRFIELD
 1061 MAIN STREET
 BRIDGEPORT, CT 06604

 Notice Content:
 Notice lssued: 01 12312019
 Docket N umber: FBT-CV-1 7-503444{ -S
 Case Caption: CINOTTI, LUCIA v. SHRED lT U.S.A. LLC Et Al
 Notice Sequence #: 1

       JDNO NOTICE

 The Plaintiff is barred from transferring this adjudged matter to the Superior Court. The legal doctrine of Res Judicata
 applies.


 {MONKS, SCM}




http://civilinquiry jud.ct.gov/CaseDetailA{otices/ViewJDNO.aspx?PSID:43666&eNID:46...                                 21512019
          Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 11 of 12



                                                                                      ORDER      432310
DOCKET NO: FBTCVI 75034441         S                      SUPERIOR    COURT
CINOTTI, LUCIA                                            JUDICIAL DISTRICT OF FAIRFIELD
  V.                                                        AT BRIDGEPORT
SHRED IT U.S.A. LLC Et AI
                                                          llrs/2019


                                                ORDER



The following order is entered in the above matter:

ORDER:

The Plaintiff is baned from transfening this adjudged matter to the Superior Court. The legal doctrine   of
Res Judicata applies.
                                                                                           \
Judicial Notice (JDNO) was sent regarding this order.

                                                      432310

                                                      Small Claims Magistrate:
                                                      SUSAN HELEN STUBAN MONKS




FBTCV17503444lS Ut8t2019                                                                       Page   I of I
    Case 3:19-cv-00178-CSH Document 3 Filed 02/06/19 Page 12 of 12




                                     CERTIF'ICATION

THIS IS TO CERTIFY THAT A COPY OF THE ABOVE MOTION WAS MAILED TO THE COUNSEL AND PARTIES
    oF RECORDS oN,    e-t -     2019.


DEFENDANT'S

Sherd   lt U.S.A. LLC
Attorney: Morrison Mahoney LLP
One Constitutional Plaza. 10{h flr
Hartford CT 06103


L:ahiri Dilip Kumar

Attorney: Morrison Mahoney LLP
One Constitutional Plaza,1Olh flr
Hartford CT 06103



                                                                                       aintiff

                                                        BY
                                                             Lucia Cinotti, Plaintiff -Pro se
                                                         P.O. Box 2223 Shetton CT 06484
